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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                         )
                                                 )
      v.                                         )         Crim. No. 2:19-cr-00123-DBH
                                                 )
DAMON FAGAN                                      )


                            STIPULATION AND EXHIBIT

        The United States and the Defendant agree that the following excerpts from a statement
provided by Maine State Police Trooper John Darcy, on April 13, 2021, at the Maine State
Police Office of Professional Standards, may be considered by the Court in its decision on
Defendant’s Motion to Suppress. Since Counsel for Defendant did not have an opportunity to
inspect Trooper Darcy’s April 13 statement prior to Darcy’s testimony in this matter on July 1,
2021, this Exhibit is being submitted in lieu of recalling Darcy for further cross-examination.


KEY

CS     Sergeant Carleton Small, Maine State Police, Office of Professional Standards
AL     Lieutenant Anna Love, Maine State Police, Office of Professional Standards
CP     Colonel Craig Poulin, Maine State Police, Maine State Police Trooper’s Association
JD     Trooper John Darcy, Maine State Police

*** Portion of Transcript Omitted

                                                 ***

AL    You said you’re looking for traffic violations, you know, 29-A violations and whatnot
which we totally all can appreciate.

        What about pre-stop indicators – or like, are you making any assessments or drawing any
conclusions based on observations that you’re making with vehicles, and if so, what? Can you
explain that to us like what you’re looking at, like, we’ve been told that sometimes you sit at the
toll and you watch vehicles come through. What are you looking for? Can you explain that to us.

JD      Yeah. So, a lot of times if I do sit down in that area there’s a few reasons 1) traffic moves
very slow so you can see things, you can see inspection stickers, seatbelts, registrations,
everything like that. Also, because it’s slow, you can see the behaviors of people so sometimes
you’ll have a car that maybe was set up to go right by you and then last minute they, they go way
out of their way to go to a different lane which is kind of unusual; because all the lanes, if you
have an E-Z-Pass for instance you can go through any lane so if they might have been set-up to
go right behind me and then last minute they move way to the right, that may be something.




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        I base a lot of things off geography. I know the state very well, I know New England very
well so I know the areas where we have significant crime or drug problems, things like that. I
also know geographically what’s very, very far away that might be unusual to see. I work down
on the southern end of the turnpike so it’s not unusual to see a car from Kennebunk or Wells or
York because people commute to work but sometimes, like for instance, I know that Bangor has
a big, big drug problem that we’re dealing with in the state so sometimes seeing a car from an
area like that catches my eye just to be curious – how come that person traveled so far away
specifically if the car is not in good condition, doesn’t have inspection on it, it makes you
wonder why would somebody travel so far when they have a car that doesn’t even seem like it
should be on the road, sometimes that catches your eye.

        The person’s behavior as far as if they’re – sometimes people will just be staring at you
more than, you know, the average person who just glances over. And on the contrary sometimes
you have people who refuse to look at you even though you’re right in a close proximity to them,
so, those are just a few things that I’ll see sometimes. I’d say geography is a big thing for me just
because it’s an interest of mine, I know New England and these cities and towns very well so,
that’s a big factor to me as far as, yeah, I worked in Aroostook County and I knew there was a
big drug problem when I worked there and it’s only gotten much worse so sometimes seeing cars
from the county that’s something that’s very unusual – you don’t see it in York very often. So,
again, those things, just one thing doesn’t mean that I’m going to stop that vehicle by any means
but sometimes those are things that catch my eye and then I may see a violation on that car and
conduct a traffic stop.

                                                 ***

AL      Yeah, I just got one follow-up before I lose it. So, how is it that you know this person or
that vehicle is from Bangor? Explain that to us, walk us through, like what are you doing to
determine that, how are you assessing that and making that conclusion?

JD      A lot of times I’ll do queries of registrations a) to see if the registration is suspended, we
have a lot of vehicles that are suspended for tolls on the southern part of the turnpike just because
of the toll plazas. Are they expired? And then when you do that response you’ll see where the
vehicle is registered out of. Can also, very quickly on our database run the registered owner as
well so you can see if that person is suspended, on bail conditions, has a warrant, a protection
order and you just saw two people in the car and, you know, male, female and you’re wondering
if, hopefully that’s not the case where this person is the protected party. So, through the database
I’m able to see at least where the vehicle is registered out of and where the registered owner
comes back to.

AL    Okay. And when you talk about a database, is our reporting database like Spillman or
IMC or anything like that – are you also checking that when you’re running these people?

JD     Yeah, that’s the database I’m referencing.

AL     Okay.




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JD     Using Spillman to check registrations and driving status’.

AL      So when you check Spillman are you able to see if people have drug contacts so you have
that information as well, or?

JD      Yes. You can see local returns which is our in-house history. Sometimes plates will be
put in their registrations and also persons so you could run someone and see a prior drug
association and whoever that Trooper’s name is or if you see no access allowed. I’ve never seen
a no access allowed that wasn’t a Maine drug case so sometimes I can’t see what that
information is but I can see that the person has ten no access allowed and one might be as recent
as a week ago.

AL     So, you know based on your training and experience if it says no access allowed that it’s
most likely a drug contact.

JD     Yes. I’ve never seen a no access allowed that was not a Maine drug case. Personally.

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TP     Just before we move on with the pre-stop indicators because I know you and I had talked
about that. Is there a reason why you don’t dictate those in reports anymore?

JD      Yeah. The reason I don’t put pre-stop indicators in a report is because although these are
things you might see, the easiest way for me to explain is you can’t articulate a gut instinct,
something, there’s times you may see a car go by you at seventy miles per hour. You don’t even
know what you saw. You have no idea, you just, for some reason you saw that car and you check
on it, you know, hey, is his, oh, the seatbelt is not on as you get up closer to the person. And so,
a) you can’t articulate your gut instinct. Sometimes, b) there are so many things that you can see
that may catch your eye, it doesn’t mean that that person is a criminal just because you see this, it
doesn’t even mean that you have any reason to pull them over but, it’s something that at least
catches your attention because there’s a lot of cars. And, let’s say you have twenty cars go by
you and you have that one person who everyone else glanced over at you and gave you a smile
because you’re in a fully marked cruiser and this one person is just staring ahead, they look
really nervous, that may be an indicator that catches your eye in that moment.

        But then a few weeks later you may have a car that goes by after everybody glanced and
gave you a smile, this person is just staring at you and they can’t seem to not look at you. That
may catch your eye too. So, these pre-stop indicators, over time, when you do this for long
enough and you stop enough cars you could almost contradict yourself if you testify to one day,
hey, you know, what caught my eye initially? The first thing is that this person was staring at me.
Then you grab a different case a month later and when you’re testifying on that case you said,
this person wouldn’t look at me. It could be easy for somebody to try to mix up your words by
saying, okay, if they’re looking at you it’s suspicious but if they’re not looking at you it’s
suspicious. What is the person supposed to do? So again, so you don’t, you know, you can’t
articulate these gut instincts sometimes. We all have levels of experience. Mine is specifically in
this area. So, sometimes when a person is near me I can almost feel that they don’t like my



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presence there. I couldn’t explain why but when I look over and maybe, if it’s daylight and I
could see, it may be okay, this person was just going seventy now they’re going sixty even
though the speed limit is seventy they won’t look away, you know, they have moved to the far
right lane to get away from me, they don’t like my presence. And then if I see a violation on that
car sometimes I’ll stop that vehicle and investigate further. If there’s no violation then, I move
on.

AL     Okay. And that was my next question. Is a pre-stop indicator enough alone to stop a
vehicle?

JD     No.

AL      Okay. So, you may make these observations but if you don’t observe a violation you
can’t stop the vehicle?

JD      Correct, yeah. If the vehicle is following all the laws and doing nothing wrong, and even
if I saw those indicators, I’ll just move on at some point.

TP      Do you recall any judges telling us don’t do these anymore, the pre-stop indicators, don’t
list them in a report?

JD     Yeah. I have not been personally told by the judge but I’ve been told second-hand that
judges made comments about how – same thing I just explained with the pre-stop indicators.

CS     Mm-hmm.

AL      Okay. And so, to that end with pre-stop indicators, because sometimes its hard to
articulate like that gut feeling or based on your observation and whatnot. If you were to list those
in the reports does that also educate the defendant if you will with regards to what to make sure
they don’t do the next time they are in the vicinity of law enforcement or anyone, is there a
consideration to that affect or, I mean, I know you guys gather a lot of information when you’re
doing your interviews that isn’t necessarily something that’s relevant to the case and [Inaudible]
but, do you consider that as well when you’re writing these reports?

JD       Yeah. Definitely could be another thing that, yeah, for instance: you explain in there
whether it’s a, let’s just say for example it’s a geographical location that you know is having a
big drug problem right now or a big crime problem, whatever it may be, and you’re documenting
that frequently at some point the people read our reports, it gets passed around in the jail as
discovery. So, at some point people might realize okay, let’s say, I’m just going to use Presque
Isle as example. Presque Isle has a large drug problem, it’s very far away from where I work. A
lot of times when we see cars from Presque Isle we have contact they are engaged in criminal
activity. If, let’s say, it’s somebody from Presque Isle hears about that they may not want to take
a car from Presque Isle, so they may choose to borrow somebody else’s car, do something
different or maybe, yeah, now people are conscientious about, okay, if you see a cop glance over
and just smile because that’s what – I’ve seen the reports that the person says, you know, that’s




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the normal response, so absolutely, I guess I made that a long answer but yeah, I think that’s
another thing that they can learn certain things we’re looking at just from reading that part.

AL     Is there ever any consideration given to a vehicle that appears to be a rental vehicle?

JD     At times, yes.

AL     Okay. And what is that, can you explain that to us?

JD      So, rental cars are used a lot in the commission of crimes for multiple reasons: 1) they’re
nice vehicles, they’re always in good condition if they’re from a large field company like an
EAN holdings, Enterprise, things like that. They’re good quality cars, they don’t have any
defects on them that would cause someone to get pulled over – no plate light out, no taillight out
and they also can’t be tied to somebody, although, the person driving the car may not have even
rented it and you don’t know if you see a rental car who rented it in that moment unless you have
contact with the driver. And it’s also, again, going back on some of this geography stuff – if the
person doesn’t want, if the person driving their car has warrants and bail, when you see a rental
car they know that you can’t figure out who they are in that moment, so, it’s a good way to avoid
detection as well.

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JD      Only one case, the case we referenced earlier with the video and the recording is the only
case I’ve ever had that I can think of that was dismissed.

CS     Okay. Right, that’s be Terrel Walker?

JD    Yeah. Other than that I don’t see any case on here that, or I can’t even think off the top of
my head of a larger scale drug case I had that has been dismissed.

CS     Okay.

AL     And do you believe that you were racially profiling in that case that was dismissed?

JD     No.

AL     Why did you stop that vehicle?

JD      The first thing that I saw that day, or that night rather, was that the vehicle was a rental
car but it was registered out of Maine which, to me, I don’t see very often, usually rental cars
have out of state plates. I don’t know if there’s a science behind that but I don’t see Maine plated
rental cars very often and it came back to Bangor. I’m aware through interviews and my training,
education, experience that Bangor is quite possibly the biggest drug hub in this state right now I
would say. I know that first-hand from interviewing suspects who have told me, and the amount
of drugs I seized that are going to Bangor have ties to Bangor. So that was the first thing I saw
that caught my eye with that vehicle that I almost wonder to myself, did this person rent a car



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with Maine plates because they didn’t want it to look like a rental car is what I wondered. Again,
I didn’t know, but the majority of rental cars I see would be New York, Pennsylvania and
Massachusetts, some other state except for Maine. And when I talk about rental cars I’m talking
about large scale, like, Enterprise not small mom and pop rental [Inaudible].

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AL      Can you explain to me what a, I don’t know if I’m saying this correctly, what a walled off
stop is?

JD      Yes. So a walled off stop would be a stop where there’s prior information received
typically it would be from a plain clothes drug investigator like Maine Drug Enforcement or
DEA, or somebody of that nature where they’re working an investigation they want to have a
vehicle stopped. Most times they’ll say, you know, we don’t have an actual reason you’ll have to
find a violation. There are times they say we actually have enough based on our investigation.
The trooper will stop the vehicle for that purpose to assist them in their investigation. So, they
may say, you know, this person, we know they’re coming back from such and such a place with
a certain amount of drugs. We believe they’ll be here at this time and this plate. Can you stop
that car for us.

AL     And they have you find a traffic violation to stop that vehicle?

JD     At times they’ll say, they’ll make it clear to you ahead of time because we’ll ask, you
know, do you have probable cause, because they may have something going where they say,
yeah, you can just stop that car because we have enough that we can articulate why we’re doing
this.

AL     They know that drugs are in that car.

JD      Yes. And then there’s times that they don’t have enough and they say you need to find
your own reason to stop and you need to develop your own RAS, reasonable articulatable
suspicion, but they’re still giving you that car to watch for because they know from whatever
investigative things happen prior that they’re involved in criminal activity at that moment.


Dated: July 29, 2021
                                                     /s/ Nicholas Scott
                                                     Assistant U.S. Attorney


                                                     /s/ David Bobrow
                                                     Counsel for the Defendant




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